Case 1:19-cv-21550-BB Document 8 Entered on FLSD Docket 04/26/2019 Page 1 of 2



                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                               Case No. 19-cv-21550-BLOOM/Louis

 JOHANNA MARIA VIBE ENER,

         Plaintiff,

 v.

 PEDRO ANTONIO MARTIN,

       Defendant.
 ________________________________/

                      ORDER ON MOTION AND ORDER TO SHOW CAUSE

        THIS CAUSE is before the Court upon Non-Party Maria Martin‘s (“Martin”)

 Emergency Motion to Intervene, (2) to Strike Scandalous Allegations from the Complaint, and

 (3) to Strike the Complaint or for an Order to Show Cause, ECF No. [7]. The Court has

 reviewed the Motion, the record and applicable law, and is otherwise fully advised. For the

 reasons that follow, Martin’s Motion is granted in part and denied in part.

        To intervene of right under Rule 24(a)(2), a party must establish that “(1) his application

 to intervene is timely; (2) he has an interest relating to the property or transaction which is the

 subject of the action; (3) he is so situated that disposition of the action, as a practical matter, may

 impede or impair his ability to protect that interest; and (4) his interest is represented

 inadequately by the existing parties to the suit.” Fox v. Tyson Foods, Inc., 519 F.3d 1298, 1302–

 03 (11th Cir. 2008) (citing Chiles v. Thornburgh, 865 F.2d 1197, 1213 (11th Cir. 1989)) (citing

 Athens Lumber Co. v. FEC, 690 F.2d 1364, 1366 (11th Cir. 1982)). The court may permit

 anyone to intervene permissively under Rule 24(b) where upon timely motion a party “has a

 claim or defense that shares with the main action a common question of law or fact.” Fed. R.
Case 1:19-cv-21550-BB Document 8 Entered on FLSD Docket 04/26/2019 Page 2 of 2
                                                           Case No. 19-cv-21550-BLOOM/Louis


 Civ. P. 24(b). When exercising its discretion, a district court “can consider almost any factor

 rationally relevant but enjoys very broad discretion in granting or denying the motion [to

 intervene].” Daggett v. Comm'n on Governmental Ethics & Election Practices, 172 F.3d 104,

 113 (1st Cir. 1999).

        Upon consideration of the arguments in the Motion, the Court finds good cause exists to

 permit Martin to intervene in this action. Thus, the Court will exercise its broad discretion to

 permit such intervention.

        Accordingly, it is ORDERED AND ADJUDGED as follows:

              1. The Motion, ECF No. [7], is GRANTED IN PART AND DENIED IN PART.

              2. Plaintiff Johanna Vibe Ener must file a response to the Motion no later than May

                 1, 2019, indicating why the allegations relating to Non-party Maria Martin should

                 not be stricken.

        DONE AND ORDERED in Miami, Florida this 26th day of April, 2019.




                                                        _________________________________
                                                        BETH BLOOM
                                                        UNITED STATES DISTRICT JUDGE

 Copies to:

 Counsel of Record

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